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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES CIVIL ACTION NO. 05-4182
CONSOLIDATED LITIGATION
SECTION “Kk”
MAGISTRATE (2)

PERTAINS TO: Levee (05-4181 and 05-6073)
MRGO (05-4181) JUDGE DUVAL
Responder (05-4181)
MAG, WILKINSON

STATEMENT OF UNDISPUTED MATERIAL FACTS

In accordance with Local Rule 56.1, GOTECH, Inc. (“GOTECH”) submits the following
list of undisputed material facts.
1. GOTECH is a licensed engineering firm, licensed to practice engineering in
Louisiana. (Exhibit C - License Verification).

Industrial Canal, 17" Street Canal, Orleans Avenue Canal and Mississippi River Gulf
Outiet (MRGO)

2. Neither GOTECH nor any of its personnel had anything to do with the design,
construction, construction administration or inspection of any construction of any
floodwalls or levees which failed along the 17" Street Canal, the Industrial Canal
and the Orleans Avenue Canal in New Orleans during Hurricane Katrina. (See
Affidavits of Rhaoul. A. Guillaume, P.E.(“Guillaume Affidavit’) and Bruce K.
Dyson (“Dyson Affidavit”), attached to GOTECH’s Motion for Summary
Judgment, as Exhibits A and B respectively, Jf 5).

3. Additionally, neither GOTECH nor its personnel was involved in the design or
construction of the MRGO. (See Guillaume Affidavit, 6, and Dyson Affidavit, 6).

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135 Kalrina (Cotech)\Pleadingy of Undisputed Facts,wpd

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London Avenue Canal

4.

10.

11.

SiRbondaD24 E8009 Karina (Gotech)Pleadings\Statemenl of Undisputed Factaype

In 1993, GOTECH, Inc. agreed to provide surveying and I-Wall design services
(within the guidelines of the USACE) as a sub-consultant to Burk-Kleinpeter, Inc.
(BKI) on the project known as London Avenue Canal Floodwall Improvements
Contract 3. A draft of the Agreement between BKI and GOTECH (Draft Contract)
is attached as Exhibit 1. It is believed the original Agreement was signed by both
parties at the time of the project, but GOTECH does not currently have a copy of
the signed Agreement. (See Guillaume Affidavit, 7, and Dyson Affidavit, 97).

GOTECH began work on this project in January, 1993 as shown by its invoice file,
in particular, Invoice No. 1. A copy of GOTECH’s invoice file on this project is
attached as Exhibit 2, in globo. (See Guillaume Affidavit, 48, and Dyson Affidavit,

18).

GOTECH completed its design and surveying work on the project by November,
1993, as shown by Invoice No. 6 showing 100% of work completed. See Exhibit
2. (See Guillaume Affidavit, {9, and Dyson Affidavit, 99).

The Agreement between GOTECH and BKI specifically stated “...construction
administration services and resident inspection services are not required of
[GOTECH] unless the US Army Corps of Engineers authorizes the OWNER
[Orleans Levee Board] to perform these services.” See Exhibit 1, p. 2 of 6. (See
Guillaume Affidavit, 410, and Dyson Affidavit, 10),

BKI did not request that GOTECH provide construction administration services or
resident inspection services for this project. (See Guillaume Affidavit, 11, and
Dyson Affidavit, J11).

GOTECH did not provide construction administration services or resident
inspection services for this project. (See Guillaume Affidavit, 912, and Dyson
Affidavit, 412).

GOTECH did not request payment for construction administration services or
resident inspection services for this project. (See Guillaume Affidavit, 913, and
Dyson Affidavit, 913).

Neither GOTECH nor any of its personnel provided any other design or surveying

services on any other London Avenue Canal project other than those described
above. (See Guillaume Affidavit, (14, and Dyson Affidavit, 14).

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By attorneys:

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CERTIFICATE

[ HEREBY CERTIFY that a copy of the above and foregoing has been forwarded to all
counsel of record via electronic mail.

Baton Rouge, Louisiang/ thié 3" day of Afigu: oo.

ADRIAN G. NADEAU

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